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                      IN IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,
                                                      Civil Action No. 2:15-cv-998-JRG-JRP
                 v.
                                                         CONSOLIDATED LEAD CASE
  NVIDIA CORPORATION, et al.,
                                                           JURY TRIAL DEMANDED
                        Defendants.


                         JOINT NOTICE OF AGREED MEDIATOR

        Plaintiff Display Technologies, LLC and Defendant Samsung Electronics America, Inc.

 respectfully notify the Court that they have agreed upon the following mediator for this case:

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       DATED October 5, 2015.       Respectfully submitted,

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                                               COUNSEL FOR DEFENDANT AND
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                                               ELECTRONICS AMERICA, INC.

                                   CERTIFICATE OF SERVICE
         I hereby certify that on the 5th day of October, 2015, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
 Division, using the electronic case filing system of the court. The electronic case filing system
 sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
 accept this Notice as service of this document by electronic means.

                                               /s/ Stevenson Moore
                                                  Stevenson Moore
